Case 1:19-cv-00168-LEK-KJM Document 58 Filed 07/15/20 Page 1 of 2                                PageID #: 566
  AO 450 (Rev. 5/85) Judgment in a Civil Case




                                   UNITED STATES DISTRICT COURT
                                                DISTRICT OF HAWAII

   HUNTER KILLER PRODUCTIONS,                               DEFAULT JUDGMENT
   INC., TBV PRODUCTIONS, LLC,                               IN A CIVIL CASE
   VENICE PI, LLC, BODYGUARD
   PRODUCTIONS, INC., LHF                                   Case: CV 19-00168 LEK-KJM
   PRODUCTIONS, INC.

                   Plaintiffs,
                                                                        FILED IN THE
                     V.                                        UNITED STATES DISTRICT COURT
                                                                    DISTRICT OF HAWAII

                                                                         July 15, 2020
   QAZI MUHAMMAD ZARLISH,
                                                                  At 2 o’clock and 57 min p.m.
   PEBBLEBRIDGE TECHNOLOGIES,                                    MICHELLE RYNNE, CLERK
   LLP, VISHNUDATH REDDY
   MANGILPUDI, HOAN PHAM,
   NGHI PHAN NHAT, DOES 1-10

                  Defendants.


  [ ]       Jury Verdict. This action came before the Court for a trial by jury. The issues
            have been tried and the jury has rendered its verdict.

  [T] Decision by Court. This action came for consideration before the Court. The
            issues have been considered and a decision has been rendered.


            IT IS ORDERED AND ADJUDGED that default judgment is entered in favor of
            the Plaintiffs and against Defendant Nghi Phan Nhat pursuant to the “Findings and
            Recommendation to Grant in Part and Deny in Part Plaintiffs’ Motion for Default
            Judgment Against Defendant Nghi Phan Nhat”, ECF No. 56, filed on June 15,
            2020 and the “Order Adopting Magistrate Judge’s Findings and
            Recommendation”, ECF No. 57, filed on July 14, 2020. Defendant Nhat is
            permanently enjoined from inducing and contributorily infringing on Plaintiffs’
            Works. The Plaintiffs are awarded statutory damages in the total amount of
            $150,000, which is $30,000 for each Work, attorneys’ fees in the total amount of
            $7,125.00 and costs in the total amount of $2,639.08.
Case 1:19-cv-00168-LEK-KJM Document 58 Filed 07/15/20 Page 2 of 2          PageID #: 567
  AO 450 (Rev. 5/85) Judgment in a Civil Case                                      Page 2 of 2




                      July 15, 2020                      MICHELLE RYNNE
   Date                                         Clerk

                                                        /s/ Michelle Rynne by ET
                                                (By) Deputy Clerk
